980 F.2d 727
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Jeffrey M. REESE, Petitioner-Appellant,v.ATTORNEY GENERAL OF THE STATE OF MARYLAND;  Kenneth Taylor,Warden, Eastern Correctional Institution,Respondents-Appellees.
    No. 92-6493.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  September 10, 1992Decided:  December 10, 1992
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Norman P. Ramsey, Senior District Judge.  (CA-91-1677-R)
      Jeffrey M. Reese, Appellant Pro Se.
      Richard Bruce Rosenblatt, Assistant Attorney General, Diane Elizabeth Keller, Assistant Attorney General, Baltimore, Maryland, for Appellees.
      D.Md.
      DISMISSED.
      Before HALL and WILKINSON, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Jeffrey M. Reese seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. § 2254 (1988).  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Reese v. Attorney Gen. of Maryland, No. CA-91-1677-R (D. Md. Apr. 6, 1992).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    